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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

MIGUEL COCA and                                  )
ALEJANDRO RANGEL-LOPEZ,                          )
                                                 )
                          Plaintiffs,            )       Case No. 6:22-cv-01274-EFM-RES
                                                 )
vs.                                              )
                                                 )
CITY OF DODGE CITY, et al.                       )
                                                 )
                          Defendants.            )
                                                 )

 DEFENDANTS’ REPLY IN SUPPORT OF THEIR SUMMARY JUDGMENT MOTION

           Plaintiffs fail to raise a genuine issue of material fact on any of their remaining claims.

Accordingly, Defendants motion should be granted and judgment entered in their favor.

      I.      Plaintiffs’ Response to Defendants’ Statement of Facts

           Many facts Plaintiffs purport to controvert are not actually controverted either by

Plaintiffs’ written response or by the record itself and should thus be deemed admitted: SOF ¶¶

2, 5, 7, 8, 9, 10, 11, 12, 13, 20, 21, 22, 30, 33, 35, 40, 41, 42, 43, 44, 45, 48, 49, 50, 51, 52, 59,

63. See Local Rule 56.1. For example, Plaintiffs lodge arguments, draw inferences, and allege

additional facts to color their arguments and inferences, but they fail to controvert material facts

stated by Defendants. See, e.g., SOF ¶¶ 7, 30, 40. Plaintiffs fail to dispute facts with record

citations that establish a real dispute. See, e.g., SOF ¶¶ 5, 10, 52. Some facts are disputed without

any record citation. See, e.g., SOF ¶¶ 2, 13; see also Local Rule 56. And they claim to controvert

stipulated facts in the Pretrial Order, which is impermissible. See, e.g., SOF ¶¶ 10, 11.

           Plaintiffs also fail to controvert Defendants’ facts by citing to the Complaint in this case,

a complaint in a different case, and hearsay. See, e.g., SOF ¶¶ 7, 20, 22, 44. Such sources are

inadmissible and cannot support summary judgment. See Fed. R. Civ. P. 56(c)(1) and (e)(2); see
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also Conoco Inc. v. J.M. Huber Corp., 148 F. Supp. 2d 1157, 1166 (D. Kan. 2001). Plaintiffs

repeatedly cite inadmissible hearsay sources contained in Pls. Ex. A, Dr. Christina Bejarano’s

Report. See, e.g., Doc. 151-2, ¶ 107, ¶ 111, ¶ 137. They also allege facts that simply aren’t true,

such as that Lawrence has moved to district-based elections when that has not happened yet and

may never happen based on how voters vote in an upcoming election. See SOF ¶ 5.1

        II.        Defendants’ Response to Plaintiffs’ Statement of Additional Facts

              1.      Controverted. Plaintiffs cite opinion testimony from an expert report that is

conclusory and unreliable. Defendants incorporate their Memorandum in Support of Motion to

Exclude Expert Witness Matt Barreto (“Daubert Motion”) (Doc. 144). See City of Chanute v.

Williams Nat. Gas, 743 F. Supp. 1437, 1454 (D. Kan. 1990). There is no evidence to support

Plaintiffs’ allegations, as explained in the Daubert Motion and illustrated by defense expert Dr.

Katz. See Doc. 144-2, Katz Report at 2, 7-10. Plaintiff Rangel-Lopez also agreed in his

deposition that “not all Latino voters prefer the same candidates at the polls[.]” Doc. 146-19 at

11:22. Dodge City voters may vote for up to three commissioner candidates. See Hernandez

Supplemental Declaration § 3, attached hereto as Exhibit K.

              2.      Controverted. Defendants incorporate their response to PSOF ¶ 1 here.

              3.      Controverted. Defendants incorporate their response to PSOF ¶ 1 here.

              4.      Controverted. Defendants incorporate their response to PSOF ¶ 1 here.

              5.      Controverted. Defendants incorporate their response to PSOF ¶ 1 here. The

evidence Plaintiffs cite, based on one Plaintiffs’ subjective observations, does not establish that

either is a Hispanic-preferred candidate. Plaintiff Coca testified that he is not aware of any

evidence that would support which candidates are considered Latino preferred. Doc. 146-25 at

31:6-10.

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    For a discussion on this point, see https://lawrencekstimes.com/2023/02/16/lawrence-form-city-government-vote/.

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         6.    Controverted. The evidence Plaintiffs cite does not support the allegations in

PSOF ¶ 6. There is no record evidence that any Latino organization argued for the inclusion of

at-large elections in the Strategic Plan. Plaintiff Rangel-Lopez testified that he raised the topic of

at-large elections at a Steering Committee brainstorming session for “at least a five-minute

discussion.” Doc. 146-19 at 37:20-39:6; 49:11-13. No other Committee member, besides Rangel-

Lopez, proposed changing to at-large elections. Id. at 59:9-12; 51:6-11. And there is no evidence

that any other Committee member asked to include at-large elections in the Strategic Plan.

         7.    Controverted. Plaintiffs cite opinion testimony from Dr. Bejarano’s report, which

makes a conclusory and unsupported allegation that the overall impact of the Cultural Relations

Board is not documented. Her allegation is opinion, not evidence. See Chanute, 743 F. Supp. at

1454.

         8.    Controverted. The evidence cited does not establish that the Bilingual Engage

Dodge Program began in fall 2022, just that it was held in fall 2022. See Doc. 151-15 at 3.

         9.    Uncontroverted but immaterial.

         10.   Uncontroverted but immaterial.

         11.   Uncontroverted but immaterial.

         12.   Controverted in part. Defendants admit that Ford County moved the polling

location in 2018 due to potential construction at the prior site. Doc 151-18. The evidence

Plaintiffs cite does not establish that the move was racially motivated or done without

community input. Defendants object that Doc. 151-2 at ¶¶ 110-111, citing to allegations from a

complaint in a different lawsuit, and Doc. 151-9, a U.S. Congressional Report, are inadmissible

and immaterial.




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       13.     Controverted in part. Defendants admit that the City has provided free

transportation to election polling locations since 2018. The evidence Plaintiffs cite does not

establish that the polling location move in 2018 caused voter access concerns. Defendants

incorporate their objection to Doc. 151-2 in response to PSOF ¶ 12 here.

       14.     Uncontroverted but immaterial.

       15.     Uncontroverted but immaterial.

       16.     Controverted in part. Defendants clarify that the record shows Mr. Adelson was

retained by Ford County to conduct a Section 2 “investigation,” not to analyze liabilities. Doc.

151-12.

       17.     Uncontroverted but immaterial.

       18.     Uncontroverted but immaterial.

       19.     Controverted in part. Ms. Seibel testified regarding the meeting with Dodge City

officials and Mr. Adelson: “I don’t remember exactly who all was there. I think the mayor at the

time, which Dodge City’s mayor changes every year, I think. I don’t remember who that person

was. And then there was Nannette Pogue and Cherise Tieben.” Doc. 146-22, Seibel Dep. 65:18-

22. Mr. Adelson’s fears never came to fruition. Id. at 109:15-111:25.

       20.     Uncontroverted but immaterial.

       21.     Uncontroverted but immaterial.

       22.     Controverted. Defendants object that Doc. 151-2 at ¶ 107, which repeats hearsay

found in a report by Plaintiff Rangel-Lopez, is inadmissible. The referenced City Commission

meeting minutes do not support the allegations in PSOF ¶ 22. See Doc. 146-9.

       23.     Uncontroverted but immaterial. A “law student extern[]” did the research. Doc.

151-22.



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          24.      Uncontroverted but immaterial. Nannette Pogue is not an attorney and the

Election Document does not contain her legal analysis. Doc. 146-23, Pogue Dep. 79:5-80:10; see

Doc. 151-22 and 151-23.

          25.      Controverted in part. There is no evidence that Scoggins submitted a proposal

about the election system or the Commission voted not to consider one. Instead, Scoggins “asked

the City Commission to direct staff to look at changing the elections in Dodge City[.]” Doc. 146-

9 at 2.

          26.      Controverted in part. Assistant City Manager De La Rosa attended a zoom

webinar where a report about at-large elections in Southwest Kansas, edited by Plaintiff Rangel-

Lopez for the non-profit Loud Light, was discussed. Doc. 146-21, De La Rosa Dep. 20:1-5; Doc.

146-19, Rangel-Lopez Dep. 56:10-57:1; 76:9-23; 78:10-17. Roxana Arjon served as City intern.

Doc. 146-19 at 78:7-9. Defendants deny that the testimony Plaintiffs cite shows any harm caused

by at-large election systems or that Arjon co-presented. See Doc. 146-19 at 78:7-9. The report

discussed some advantages of at-large election systems. Doc. 146-19 at 88:4-92:19.

          27.      Controverted. Plaintiffs mischaracterize the City corporate representative’s

testimony and the question posed to him. The representative was not asked about the City’s basis

for maintaining the at-large election system, but about his “personal priorities” and “specific

plans” and how to accomplish his goals. Doc. 146-18, Hernandez Dep. 206:8-208:17; see 23:17-

25:11.

    III.        Summary judgment is warranted on Plaintiffs’ section 2 claim.

          Plaintiffs argue that it would be improper to grant summary judgment on their section 2

claim because the analysis is just too “fact intensive.” Doc. 151, at 25. That is not true. It has

long been established that, when a plaintiff, as here, has failed to meet Gingles’ preconditions,



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summary judgment should be granted to avoid costly and time-consuming trials for claims on

which the plaintiff cannot prevail. See McNeil v. Springfield Park Dist., 851 F.2d 937, 943 (7th

Cir. 1988) (collecting cases). Accordingly, the fact that Plaintiffs assert a section 2 claim, or that

this case is to be tried to the bench, does not preclude summary judgment.

        Here, the primary reason that summary judgment should be granted on Plaintiffs’ section

2 claim is that Plaintiffs expert for Gingles factors 2 and 3, Dr. Matt Barreto, should be excluded

because, as set forth in Dodge City’s Daubert motion and supporting briefing, Dr. Barreto’s

opinions are not reliable. Without Dr. Barreto’s opinions, Plaintiffs are left with only a hodge-

podge of evidence that is insufficient to raise a material issue of fact as to whether Latinos in

Dodge City are politically cohesive and whether Whites are engaging in racial bloc voting.

        Starting with the unadorned election results for Dodge City Commission, Plaintiffs

misconstrue Defendants’ point in citing to them. Contrary to Plaintiffs’ contention, Defendants’

citation to these results was not an attempt to perform some type of HPA. Doc. 151, at 27. No, as

Defendants’ expert, Dr. Katz, points out, and is a fatal flaw in Dr. Barreto’s opinions, such an

analysis is improper in a case like this where there has never been anywhere near 90% Latino

voters in any given precinct. Rather, Defendants’ point in citing to these results was merely to

rebut the notion that Plaintiffs had previously made that their so-called Latino-preferred

candidates were the “top vote getters in high Latine population precincts, but lost in low Latine

population precincts,” Doc. 30, at ¶ 62, and to demonstrate how the unadorned election results

fail to create any reasonable inference that Latino voters overwhelming vote one way and Whites

vote another. Simply put, when Latinos do not make up the overwhelming majority of voters in

any precinct, voters are permitted to vote for up to three candidates,2 there are no exit polls, and


2
        If one were to examine the ballot of any voter in Dodge City of any ethnicity, one would not be able to
determine that voter’s preferred candidate with anything better than 33% accuracy. We know the voter prefers one

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the so-called “candidate of choice” is not the clear favorite in the precincts that Plaintiffs have

identified as being minority precincts or the clear loser in the precincts that Plaintiffs claim are

White, there is no basis to find political cohesion or racial bloc voting, much less at the level

necessary to sustain a finding that Gingles factors 2 and 3 are met. See LULAC v. Abbott, 604 F.

Supp. 3d 463, 499 (W.D. Tex. 2022) (noting that even 51% is “far short of the large majority

typically required to show political cohesion”). Plaintiffs offer no support to the contrary.

        As for the fact that “Defendants d[id] not even mention the 2019 Dodge City

Commission elections, Doc. 151, at 31, there is good reason: up until Plaintiffs’ summary

judgment response, Plaintiffs had never identified a Latino “candidate of choice” for that year.

Beginning with the Amended Complaint, Plaintiffs contended only that there was a so-called

Latino “candidate of choice” for 2000, 2006, 2014, 2017, and 2021. Doc. 30, at ¶ 62. In the

Pretrial Order, Plaintiffs claimed only that there was a so-called Latino “candidate of choice” for

2014, 2017, and 2021. Doc. 140, at 7. Glaringly missing from both documents, and most

importantly the Pretrial Order, is any mention of 2019. Plaintiffs are not allowed to raise a new

theory now. See Wagoner v. Pfizer, Inc., 2009 WL 10671278, at *4 (D. Kan. Jan. 21, 2009).

        Regardless, the unadorned election results for 2019, like the results for 2021, 2017, and

2014, are unintelligible because Latinos do not make up the overwhelming majority of voters in

any precinct, voters may vote for up to three commissioner candidates, there are no exit polls,

and the so-called “candidate of choice” is not the clear favorite in Plaintiffs’ Latino precincts or

the clear loser in Plaintiffs’ White precincts. See “Official General Election results for 11-05-




of three, but we don’t know which one. Under these circumstances, to attempt to extrapolate the preferred candidate
of an entire group of voters when we cannot get better than 33% accuracy on any one voter is rampant speculation.


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2019,”     available      at   http://www.fordcounty.net/DocumentCenter/View/22724/Ford-County-

Historical-Election-Results-for-website.3

         As for Plaintiffs’ “exogenous election” results, even Plaintiffs recognize that they are not

of the same probative value as those for “endogenous elections.” Doc. 151, at 31. Nevertheless,

citing exclusively to Dr. Barreto’s analysis of them, Plaintiffs claim that these results should be

considered. They should not. As set forth in Defendants’ Daubert motion, Dr. Barreto’s

exogenous election results are ill-suited in this context and should not be considered. Without Dr.

Barreto, Plaintiffs are again left with the unadorned “exogenous election” results, which, like the

“endogenous election” results, are not informative. Plaintiffs seem to suggest that there is a

clearer divide between the “heavily Latino precincts” and “high density white precincts” in the

2021 USD 443 School Board Election, id. at 31-32, but this division is illusory. As the results

show, for precincts 2 and 3, i.e., the precincts with the highest percentage of Latino voters, the

alleged Latino candidate of choice, Ms. Carmen Valverde, had the fourth highest combined vote

count and was only 1 vote ahead of the fifth-place finisher and 3 votes ahead of the sixth-place

finisher for those precincts. See “Official General Election results for 11-02-2021,” at 13-18,

available at http://www.fordcounty.net/DocumentCenter/View/22724/Ford-County-Historical-

Election-Results-for-website. Thus, while it is technically true that Ms. Valverde would have

won a seat “if only the heavily-Latino precincts were considered,” as four seats were open, this

fact has no practical significance because one more vote would not have made a difference.

         With respect to the election years that Plaintiffs have settled on challenging, Defendants’

reference to Plaintiffs’ choice to ultimately ignore election years 2000 and 2006 was not to argue

that Plaintiffs had not considered enough election cycles, as Plaintiffs charge, Doc. 151, at 32,

3
         Dr. Barreto specifically cited to the listed website and relied upon it for his stated opinions. (Doc. 151-3, at
3 n.3). The 2019 results were also produced during discovery and are attached. See 2019 Election Results, attached
hereto as Exhibit K-2.

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but rather to highlight a reoccurring theme in this case, which is that Plaintiffs’ initial misgivings

about Dodge City were not borne out in discovery. Plaintiffs brought this lawsuit based, at least

in part, on the fact that four candidates with Latino-sounding names had not been elected to the

Dodge City Commission over the last twenty years. Doc. 30, at 12. Plaintiffs apparently only

used the candidates’ names to determine that these candidates must have been the Latino

preferred candidate. When no actual evidence to support their theory for 2000 and 2006 surfaced,

Plaintiffs were forced to abandon it. While Plaintiffs have yet to do the same for 2021, 2017, and

2014, they should have, as there is insufficient evidence to show that, in those years, Latino

voters had a “candidate of choice” and that Whites voted as a bloc to reject that candidate.

Accordingly, the problem for Plaintiffs is not that they did not review enough elections, but,

rather, that the evidence in this case does not support their contentions.

        Finally, with regard to Mr. Coca’s “lived experiences,” they do not provide the missing

link. As Defendants stated in their opening brief, and Plaintiffs are forced to concede in their

response, Mr. Coca’s testimony boils to the belief that Ms. Soto and Ms. Zuniga was the Latino

“candidate of choice” based on their “interaction with the community.” Doc. 151, at 33. Despite

Defendants specifically pointing out that Mr. Coca admittedly knew nothing about who actually

voted for Ms. Zuniga, how Ms. Zuniga had run her campaign, what issues Ms. Zuniga

campaigned on, how Ms. Zuniga fared in any of Dodge City’s precincts, or even whether he had

voted for Ms. Zuniga, Plaintiffs have failed to provide any substantiation for Mr. Coca’s naked

assertion. Doc. 146-25 at 42:25-44:2. Likewise, Mr. Coca admitted that he was unaware of any

“data,” “documents,” or “evidence” that would confirm Ms. Soto was indeed the candidate of

choice. Id. at 31:6-10. Thus, the Court is left with Mr. Coca’s bald assertion without supporting

details. This is insufficient to permit Plaintiffs’ section 2 claim to proceed to trial.



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    IV.    Summary judgment is warranted on Plaintiffs’ § 1983 claim.

       There is no viable § 1983 claim in this case for two reasons. First, Plaintiffs have waived

the claim by not including it in the Pretrial Order. See Wilson v. Muckala, 303 F.3d 1207, 1215

(10th Cir.2002) (“[C]laims, issues, defenses, or theories of damages not in the pretrial order are

waived even if they appeared in the complaint.”). Plaintiffs’ argument that the Court should

nevertheless ignore its waiver because Defendants noted it in a footnote should be ignored

because it places form over substance. Doc. 151, at 34. Arguments may be disregarded only

when they are presented in a “perfunctory” manner. Here, the issue of waiver is simple and

straightforward: the claim is not in the Pretrial Order and is thus waived. Nothing more needs to

be said. Furthermore, whether Defendants raised the issue or not, the fact remains that Plaintiffs

do not assert a § 1983 theory in the Pretrial Order. Therefore, there is no such claim remaining.

       Second, there is no § 1983 claim because Plaintiffs cannot satisfy Gingles factors II and

III. Plaintiffs do not contest that satisfaction of Gingles is also needed for a § 1983 claim. Thus,

for the same reasons that Plaintiffs’ section 2 claims fails, Plaintiffs’ § 1983 claim also fails.

     V.    Summary judgment is warranted on Plaintiffs’ Fourteenth Amendment claim.

       At this point, Plaintiffs concede that Dodge City did not adopt at-large voting in 1971 to

suppress Latino voters. Doc. 151, at 2 ¶ 3. Rather, Plaintiffs claim that Defendants have violated

Plaintiffs’ Fourteenth Amendment rights by not adopting an electoral process that no group

(including Latinos) has requested or any government agency has demanded, despite federal

officials monitoring Dodge City elections since at least the early 2000s. Resp. to PSOAF 14. In

short, Plaintiffs’ Fourteenth Amendment claim is in search of a constitutional problem.

       Plaintiffs are wrong that it is improper to grant summary judgment on a Fourteenth

Amendment voting rights claim. See, e.g., Moore v. Detroit Sch. Reform Bd., 293 F.3d 352, 368-



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72 (6th Cir. 2002); Turner v. State of Ark., 784 F. Supp. 553, 578 (E.D. Ark. 1991) (three judge

panel). This makes sense because the Fourteenth Amendment does not magically grant a plaintiff

a right to trial simply because they file a claim under it. A triable issue must still be shown,

which means that a plaintiff must show that the relevant “decisionmaker selected or reaffirmed a

particular course of action at least in part ‘because of,’ not merely ‘in spite’ of the law’s

differential treatment of a particular class or persons.” SECSYS, LLC v. Vigil, 666 F.3d 678, 685

(10th Cir. 2012) (alterations in original omitted). Plaintiffs have failed to do that here.

       Plaintiffs contend that the following three things are “evidence of discriminatory intent”

and show that Dodge City has known of the disparate impact of at-large voting on Latinos since

at least 2011: (1) a 2011 letter from a voting rights consultant stating that Dodge City “seem[ed]

to possess the initial criteria that may indicate a VRA Section 2 violation” and that Dodge City

should engage in a self-assessment, i.e., hire the consultant, to confirm compliance, Doc. 151, at

35-36, (2) Dodge City spent only one month looking into district-based elections in 2019 after

one commissioner raised the issue, id. at 36-37, and (3) the alleged presence of a handful of the

Arlington Heights factors, id. at 37-40. Plaintiffs’ evidence does not measure up.

               1. Plaintiffs’ evidence from 2011 shows nothing.

       Plaintiffs’ claim that Dodge City has known for “15 years” that its at-large election

process was unlawful hinges entirely upon a three-and-a-half letter that a consulting firm,

Federal Compliance Consulting LLC, wrote to Ford County in 2011. This position is remarkable

for a number of reasons. First, while the letter does say that Dodge City “seems to possess the

initial criteria that may indicate a VRA Section 2 violation,” Doc. 151-13, at 2, the author

admitted that he had “not yet conducted [his] own investigation,” id. at 4. The author went on to

say that a determination on whether Gingles factors 2 and 3 could not be made “without an



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analysis of election returns, voter registration, and other data,” which the author obviously had

not done. Id. After walking through the parade of horribles that could befall Dodge City, the

consulting firm ended its letter by saying that Dodge City could avoid “its possible Section 2

liability” and “potential litigation plus substantial cost and liability on a matter that could be

addressed without DOJ intervention” by simply hiring the consulting firm. Thus, the 2011 letter

is far from actually asserting a researched and analyzed conclusion; rather, it appears more aptly

characterized as a solicitation for work, which should be given no weight, especially as the

author admits that he had “not yet conducted [his] own investigation.” Cf. Ernst & Ernst v.

Hochfelder, 425 U.S. 185, 203 n.24 (1976) (explaining that warnings of the potentially vast

impact of a bill by “legislative opponents[—]who [i]n their zeal to defeat a bill . . .

understandably tend to overstate its reach”—should be “entitled to little weight”).

       Second, the fact that Dodge City did not take the consulting firm up on its offer is of no

moment. The point in hiring the consulting firm would have been to stave off the parade of

horribles of which the consulting firm had warned. In its letter, the firm outlined the following as

the steps the DOJ would take after “request[ing] election returns and geographic data”:




Doc. 151-13, at 1. As noted by Ms. Sharon Siebel, the recipient of the consultant’s letter, what

was warned of never came to fruition—in 2011, or in the intervening twelve years for that

matter. Resp. to SOAF 19. In fact, there is no evidence that the DOJ took any follow-up

measures after receiving Ford County’s materials. Doc. 151, at 10 ¶32. Thus, while Plaintiffs

want to quibble about whether or not the DOJ actually determined that no violation was present

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based on its twelve-years of inaction, Doc. 151, at 36, the fact remains that, based on the very

letter upon which Plaintiffs rely, there was no reason for Dodge City to believe that its decades-

old form of voting was violative of any legal standard. Thus, there is no way for a reasonable

factfinder to say that Dodge City knew that it was committing voting rights violations in 2011.

       Third, even if the receipt of a warning of a possible problem—from a person that had

admittedly not actually investigated the problem warned of and which the government regulator

charged with addressing that problem never followed-up on after looking into it—could

constitute knowledge of the alleged problem’s actual existence (which seems dubious), Dodge

City’s actions in regard to the 2011 letter still are not evidence of discriminatory purpose. The

reason for this is that “[d]iscriminatory purpose . . . implies more than intent as volition or intent

as awareness of consequences.” Personnel Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979).

Stated another way, even if “a discriminatory effect [is] a foreseen (or known) consequence of

[government] action, . . . it does not run afoul of the Constitution unless it is an intended

consequence of [government] action.” SECSYS, 666 F.3d at 685. Here, there is nothing showing

that Dodge City’s refusal to continue to engage a paid consultant and maintain its decades-old

practice was motivated by race. As a result, even if Plaintiffs’ 2011 evidence showed knowledge

of a violation (which it does not), it still would not be enough to deny summary judgment.

               2. Plaintiffs’ 2019 evidence fares no better.

       According to Plaintiffs, two things happened in 2019 that show intentional

discrimination: (1) the Commission “hastily rejected” the idea that Dodge City abandon its

nearly-fifty year old system of voting after then-Commissioner Jan Scoggins raised the idea; and

(2) the circulation of a five-paragraph email written by a “law student extern[]” for the League of

Kansas Municipalities, see Doc. 151-22, at 2, that stated, without performing any real factual or



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legal investigation, that Gingles factors 2 and 3 would “likely be met” in Dodge City. Doc. 151,

at 36-37. Neither of these events can carry the weight Plaintiffs foist upon them.

       Starting with Plaintiffs’ “hastily rejected” claim, it is baseless. It is uncontroverted that,

after then-Commissioner Scoggins requested that City staff look into the issue, City staff looked

into the issue. Doc. 151, at 11-12 ¶ 36. Furthermore, a month after the issue was raised, City

Attorney Brad Ralph presented on it to the Commission. Id. at 12 ¶ 39. Ultimately, a majority of

the commissioners did not vote in favor of continuing to research the issue and no additional

actions were taken on it. Doc 146-10 at 2. While Plaintiffs may not like that fact, this is not

evidence of discriminatory motive. See Moore, 293 F.3d at 370 (“Allegations that the Legislature

acted with haste and did notengage [sic] in extensive fact-finding might be a legitimate and even

a valid critique of its behavior, but is does not lead to an inference of racial discrimination.”).

       Plaintiffs’ apparent attempt to breathe some sort of arbitrariness into the situation by

claiming that the Commission didn’t “provid[e] any rationale for its decision” fails. Doc. 151, at

37. As the minutes show, the Commission does not typically provide the rationale for its

decisions. Rather, only the matter and vote result are recorded in the minutes. Furthermore, the

rationale for maintaining a system that has been in place for then-nearly fifty years without issue,

as opposed to adopting something dramatically different, should be clear.

       Turning to the legal extern’s email, there is a reason that Plaintiffs devote two sentences

to it—there is nothing there. It was drafted by a person who has no apparent background in

voting rights law and was not the product of any real factual or legal analysis. This is insufficient

to call into question the Commission’s decision, let alone show that it was based on race.




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               3. Additional Arlington Heights factors do not save Plaintiffs’ claim.

       Plaintiffs rely on four alleged categories of evidence to show that their Fourteenth

Amendment claim is saved by the Arlington Heights factors: (1) evidence of the so-called

“impact” of at-large voting, (2) evidence that Dodge City was aware of the foreseeable impact of

at-large voting, (3) a history of discrimination against Latinos, and (4) the availability of less

discriminatory alternatives. Doc. 151, at 37-40. Plaintiffs’ reliance is misplaced.

       Starting with Plaintiffs’ first and second categories, see Doc. 151, at 38-39, they are

insufficient, as they do not indicate that Dodge City acted with discriminatory purpose. Again, as

noted above, knowledge of a likely impact is not the same as acting with discriminatory purpose.

See Moore, 293 F.3d at 369 (finding that the Arlington Heights factors did not create a factual

issue, despite “[n]either side disput[ing] that the [action in question] has a substantial impact on

African-American citizens”). Plaintiffs’ intimation that foreseeability should be treated

differently here because at-large voting has been “historically implemented . . . as a tool to

suppress the voting power of minorities and the working class” should be rebuffed because

Plaintiffs concede that there is no evidence that that was Dodge City’s intent in 1971. The same

should occur to the town hall report that Plaintiffs cite. While a report was allegedly presented,

what Plaintiffs leave out is that one of them, Mr. Rangel-Lopez, actually edited the report, which

was written by a member of a local advocacy group that is now an intern in the City Office. Doc

146-19 at 76:20-23; 77:14-78:9. Thus, this report and any claim regarding its purported effect

should be given no weight. Cf. Ernst, 425 U.S. at 203 n.24.

       Regarding Plaintiffs’ evidence of discrimination, there are two types that Plaintiffs allege:

historical and actions taken by Ford County. Doc. 151, at 39-40. Neither is helpful. Beginning

with Plaintiffs’ historical evidence, the most recent events that they cite to allegedly occurred



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before the passage of the Civil Rights Act in 1964. These alleged events, to the extent they even

occurred, are not probative of whether Dodge City is currently maintaining its at-large form of

voting for discriminatory purposes. See League of Women Voters v. Fla., 66 F.4th 905, 923 (11th

Cir. 2023) (reversing the district court’s finding that the relevant history showed discrimination

because Arlington Heights does not “provid[e] an unlimited look-back to past discrimination”

and no legislative action taken “since the year 2000 offer[s] [any] support for [a] finding of

discriminatory intent”). As for polling locations, Dodge City does not set them; rather, it is Ford

County’s decision as a matter of statutory law. Accordingly, those decisions are not relevant to

the claims against the City. See id. at 924 (finding that voter roll purges were not evidence of

legislative discriminatory intent because the purge was “not conducted by the Legislature”).

       Finally, the fact that Plaintiffs identify an alternative form of voting does not mean that

the Arlington Heights less-discriminatory-alternative factor is met. Doc. 151, at 40. As recently

confirmed by the Eleventh Circuit, the analysis asks whether the alternative “would have

achieved the same objectives” as the action being challenged. As Plaintiffs recognize, one of the

key factors in maintaining the at-large system is unity, which is met under the present system

because elected officials do not represent just one particular section of Dodge City, but, rather,

all of Dodge City. Going to a district-based model is obviously antithetical to that objective.




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                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I certify that on the 27th of October 2023, the foregoing was electronically filed with the
Clerk of the Court by using the Court's e-Filing system which will send notification of electronic
filing to counsel for all parties of record, and a true and correct copy was served by electronic
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